Case 2:20-cv-07751-MWF-AGR Document 4 Filed 08/26/20 Page 1 of 2 Page ID #:26

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                                       CASE NUMBER:


STEVEN MOORE                                              2:20−cv−07751−MWF−AGR
                                        PLAINTIFF(S)

       v.
COUNTY OF LOS ANGELES , et al.

                                                           NOTICE TO FILER OF DEFICIENCIES IN
                                     DEFENDANT(S).
                                                                ATTORNEY CASE OPENING




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Case 2:20-cv-07751-MWF-AGR Document 4 Filed 08/26/20 Page 2 of 2 Page ID #:27
Dated: August 26, 2020          By: /s/ Estrella Tamayo Estrella_Liberato@cacd.uscourts.gov
                                   Deputy Clerk




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